327 F.2d 665
    Mrs. Doney S. LISENBY, Individually and as tutrix of her minor children, Graden Eugene Lisenby, Jo Ann Lisenby, and Brenda Ann Lisenby, Appellant,v.The FIDELITY AND CASUALTY COMPANY OF NEW YORK et al., Appellees.
    No. 20576.
    United States Court of Appeals Fifth Circuit.
    February 13, 1964.
    
      Appeal from the United States District Court for the Western District of Louisiana, Benjamin C. Dawkins, Jr., Chief Judge.
    
    
      1
      Warren L. Mengis, Baton Rouge, La., Nathan M. Calhoun, Vidalia, La., for appellant.
    
    
      2
      Robert T. Farr, Davenport, Farr &amp; Kelly, Monroe, La., Attorneys for Fidelity &amp; Cas. Co. of New York, appellee.
    
    
      3
      Thos. M. Hayes, Jr., Hayes, Harkey &amp; Smith, Monroe, La., for E. H. Tibbits d/b/a Tibbits Drilling Co. and Employers Cas. Co., appellees.
    
    
      4
      Before HUTCHESON and GEWIN, Circuit Judges, and HOOPER, District Judge.
    
    
      5
      PER CURIAM.
    
    
      6
      This is an appeal from an order granting Tibbits Drilling Co., its liability insurer, Employers Casualty Company, and Fidelity &amp; Casualty Company, insurer of Chartor Oil Co., summary judgment in a suit against them for wrongful death.
    
    
      7
      The decisive question at issue in determining the motion for summary judgment was whether a tort suit for damages in the Federal District Court in Louisiana was barred and prevented by the Louisiana Workmen's Compensation Statute.
    
    
      8
      The deceased, Lisenby, a resident of Louisiana, contracted in Mississippi for employment with a Mississippi construction company (Anders). He worked for Anders in both Mississippi and Louisiana. At the time of his accidental death he was working in Louisiana moving an oil rig onto location. Chartor Oil Co., lease owner, had engaged Tibbits to dig a well, Tibbits had engaged Anders to move the rig, and deceased worked for Anders on this job. Anders' workmen's compensation policy was issued in and limited to, Mississippi. The survivors of the deceased are now receiving benefits under the Mississippi Workmen's Compensation Statute.
    
    
      9
      The district judge, in a thoroughgoing opinion, 225 F.Supp. 870, fully and correctly setting out and discussing the facts and the law applicable thereto, determined the issue, and rendered judgment, in favor of appellees, and this appeal has followed.
    
    
      10
      We approve and adopt the opinion and order of the district judge, and, upon the consideration states, and for the reasons advanced therein by him, we affirm the judgment and order appealed from.
    
    
      11
      Affirmed.
    
    